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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

Advance Magazine Publishers Inc.
                                                       Plaintiff,
v.                                                                  Case No.:
                                                                    1:23−cv−06564
                                                                    Honorable Thomas M.
                                                                    Durkin
The Partnerships and Unincorporated Associations
Identified on Schedule A, et al.
                                                       Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, December 21, 2023:


        MINUTE entry before the Honorable Thomas M. Durkin: Motion to withdraw as
attorney [65] is granted. Attorney Jake Michael Christensen terminated. Mailed notice.
(ecw, )




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